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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION


JULIA HUBBARD, KAYLA                           §
GOEDINGHAUS,                                   §
                                               §                SA-23-CV-00580-FB
                  Plaintiffs,                  §
                                               §
vs.                                            §
                                               §
TRAMMELL S CROW, JR., DR.                      §
BENJAMIN TODD ELLER, RICHARD                   §
HUBBARD, DR. MELISSA MILLER,                   §
JOSEPH BOLIN, DR. SCOTT WOODS,                 §
DR. MRUGESHKUMAR SHAH,                         §
MICHAEL CAIN, COE JURACEK,                     §
PHILIP ECOB, H.J. COLE, CODY                   §
MITCHELL, KURT KNEWITZ, RALPH                  §
ROGERS, ROBERT PRUITT, SCOTT                   §
BRUNSON, CASE GROVER, RICHARD                  §
BUTLER, MICHAEL HYNES, JR.,                    §
SHAWN MAYER, JADE MAYER, RCI                   §
HOSPITALITY HOLDINGS, INC.,                    §
AARON BURLINGAME,                              §
                                               §
                  Defendants.                  §



                                           ORDER

       Before the Court is the above-styled cause of action. On June 5, 2024, Defendant Crow

filed his Expedited Opposed Motion to Compel Plaintiffs’ Full Compliance with Previously

Ordered Reproduction and Document Identification and For Further Production of Documents

[#332]. On June 6, 2024, the Court referred the motion to the undersigned for determination and

ruling under 28 U.S.C. § 636 and Local Rule CV-72, Appendix C of the Local Rules for the

Assignment of Duties to United States Magistrate Judges [#333]. The undersigned will GRANT

IN PART the motion to compel [#332] and order Plaintiffs to fully comply with the

undersigned’s previous order [#325] by June 28, 2024.


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                                        Motion to Compel

         By his motion, Defendant Crow asks the Court to compel Plaintiffs to comply with the

undersigned’s previous order to “reproduce all previously produced discovery in the format

identified by Defendant’s request and as described during the hearing” and “identify (by Bates

number) the documents that are responsive to each request for production for this initial

reproduction and any supplemental production(s).” (Order [#325], at 5.) The Court will do so

and notes that while the Court’s previous Order [#325] did not impose an explicit deadline on

Plaintiffs, that it expects Plaintiffs to act with reasonable diligence in complying with the Court’s

Orders. For clarity, the Court will now impose a deadline for compliance.

         Defendant Crow also asks the Court to order Plaintiffs to produce documents not

previously produced that Defendant states are responsive to requests for production. This is a

new request by Defendant Crow, and one not addressed in the prior hearing or the Court’s prior

Order [#325].     Defendant Crow has not provided the Court with sufficient information to

ascertain whether that production should be compelled. It is unclear from Plaintiff’s response

whether they dispute that they have additional responsive documents in their possession that they

have yet to produce. Of course, if there are additional documents in Plaintiffs’ possession that

are responsive to outstanding discovery requests, Plaintiffs would have an obligation to

supplement their production with those documents. Thus, the parties should confer on a timeline

for any supplemental productions, and Defendant Crow’s motion is denied with regard to this

issue.   If the parties are unable to resolve any dispute over this supplemental production,

Defendant Crow may file a new, separate motion that addresses these specific documents.




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         Finally, the Court will deny Defendant’s request for attorney’s fees. See Fed. R. Civ. P.

37(a)(5)(C). Defendant Crow may re-urge such a request if Plaintiffs fail to comply with this

Order.

                                    Non-Urgent Civil Matters

         Defendant Crow urged the Court to determine his motion on an expedited basis. Routine

civil discovery disputes, especially those that take place several months before the discovery

deadline, do not constitute emergencies that warrant expedited treatment. Parties may, of course,

inform the Court when some sort of time-sensitive concern is at issue in their case. But they

should be mindful of demanding that a civil discovery dispute take precedence over other matters

on the Court’s docket, which includes time-sensitive criminal and other exigent matters.

         IT IS THEREFORE ORDERED that Defendant’s Crow’s Expedited Opposed Motion

to Compel Plaintiffs’ Full Compliance with Previously Ordered Reproduction and Document

Identification and For Further Production of Documents [#332] is GRANTED IN PART and

that Plaintiffs must fully comply with this Court’s May 2, 2024, Order [#325] by June 28, 2024.

Plaintiffs’ failure to comply with this deadline without demonstrating good cause for their failure

could result in the imposition of sanctions.

         IT IS FURTHER ORDERED that any relief not explicitly granted herein is DENIED.

         SIGNED this 18th day of June, 2024.




                                               ELIZABETH S. ("BETSY") CHESTNEY
                                               UNITED STATES MAGISTRATE JUDGE




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